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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 ADRIAN SMITH,                                  )
                                                )
                Plaintiff,                      )
                                                )           No. 17-cv-00286
         v.                                     )
                                                )           Judge Andrea R. Wood
 BANK OF AMERICA, N.A.,                         )
                                                )
                Defendant.                      )

                                            ORDER

         Defendant’s Motion to Compel Arbitration [50] is granted. This case is dismissed without
prejudice to Plaintiff pursuing her claim in the appropriate arbitral forum. The Clerk is directed
to enter Judgment in favor of Defendant. Civil case terminated. See accompanying Statement for
details.

                                         STATEMENT

         Plaintiff Adrian Smith has sued Defendant Bank of America, N.A. (“BOA”), alleging that
it violated the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201, et seq., and the Illinois
Minimum Wage Law (“IMWL”), 820 ILCS §§ 105/4, 105/4(a). In response, BOA contends that
Smith must arbitrate her claims against it pursuant to an arbitration agreement that she entered
into with her employer, Adecco USA, Inc. (“Adecco”), a temporary staffing agency through
which Smith was assigned to BOA. Now before the Court is BOA’s motion to compel
arbitration. (Dkt. No. 50.)

                                                I.

      The relevant facts are undisputed. On June 18, 2015, Smith entered into an arbitration
agreement (“Agreement”) with Adecco. The Agreement provides, in relevant part:

       This Dispute Resolution and Arbitration Agreement for Consultants/Associates
       (“Dispute Resolution Agreement”) is entered between Adecco USA, Inc., its
       successors and assigns and its officers, directors, employees, affiliates,
       subsidiaries and parent companies (collectively referred to as the “Company”),
       and ADRIAN D SMITH (“Employee”).

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       [T]he Company and Employee agree that any and all disputes, claims or
       controversies arising out of or relating to this Agreement, the employment
       relationship between the parties, or the termination of the employment
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       relationship, shall be resolved by binding arbitration . . . . BY SIGNING THIS
       AGREEMENT, THE PARTIES HEREBY WAIVE THEIR RIGHT TO
       HAVE ANY DISPUTE, CLAIM OR CONTROVERSY DECIDED BY A
       JUDGE OR JURY IN A COURT.

       ***

       It is understood and agreed by the parties that a Client and its affiliates are
       intended to be third party beneficiaries to this Dispute Resolution Agreement.
       Although the Client and its affiliates are not the Employee’s employer, any
       disputes that may be asserted against Client or its affiliates due to Employee’s
       temporary work assignment at Client shall be resolved pursuant to this Dispute
       Resolution Agreement in the same manner as claims made against the Company.

(Adecco’s Mem. in Support of its Mot. to Compel Arb. & Stay Proceedings, Ex. B, Dkt. No. 38-
3) (emphasis in original).

        Notwithstanding the Agreement, on January 13, 2017, Smith filed this lawsuit in federal
court against both Adecco and BOA. (Dkt. No. 1.) The initial complaint was followed in April
2017 by a First Amended Complaint (“FAC”) on behalf of Smith and a putative class. (Dkt. No.
35.) Smith asserts two counts in the FAC: one under the FLSA and the other under the IMWL.
BOA answered Smith’s FAC on April 18, 2017. In its answer, BOA asserted as an affirmative
defense: “Plaintiff is required to individually submit all claims to mandatory final and binding
arbitration pursuant to an arbitration agreement covering Plaintiff’s purported claims.” (BOA
Ans. at 15, Dkt. No. 36.)

        Thereafter, Adecco moved to compel arbitration pursuant to the Agreement. (Dkt. Nos.
27.) Smith requested and was granted leave to conduct discovery regarding the validity of the
Agreement prior to responding to Adecco’s motion. Meanwhile, BOA filed a response to
Adecco’s motion stating: “Because Adecco has moved to compel arbitration consistent with its
Arbitration Agreement with Plaintiff, and because Bank of America is a third-party beneficiary
of the Arbitration Agreement, Bank of America does not oppose Adecco’s motion.” (BOA’s
Stmt. Regarding Adecco’s Mot. to Compel Arb. at 2, Dkt. No. 32.) Then, on June 14, 2017,
Smith voluntarily dismissed Adecco from this case with prejudice, leaving BOA as the only
Defendant. (Dkt. No. 43.) At the next status hearing, BOA expressed its view that it was a third-
party beneficiary to the Agreement and thus Smith is obligated to arbitrate their dispute.
However, BOA had never moved to compel arbitration on its own behalf, and Adecco’s motion
(which did not directly address whether Smith was required to arbitrate her claims against BOA)
was rendered moot by Smith’s agreement to dismiss Adecco from the case. When asked at the
hearing why it had not joined in Adecco’s motion to compel arbitration, BOA had no
explanation. The present motion followed.

                                               II.

        Under the Federal Arbitration Act (“FAA”), 9 U.S.C. § 1 et seq., once satisfied that the
making of an agreement to arbitrate is not disputed, the Court must order the parties to proceed
to arbitration in accordance with their agreement. 9 U.S.C. § 4; E.E.O.C. v. Waffle House, Inc.,

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534 U.S. 279, 288–89 (2011). An agreement to arbitrate “shall be valid, irrevocable, and
enforceable, save upon such grounds as exist in law or in equity for the revocation of any
contract.” 9 U.S.C. § 2. Unless the arbitration agreement is invalidated by “generally applicable
contract defenses, such as fraud, duress, or unconscionability,” the Court must enforce it
according to its terms. AT&T Mobility v. Conception, 563 U.S. 333, 338 (2011). “[Q]uestions of
arbitrability must be addressed with a healthy regard for the federal policy favoring arbitration.”
Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24 (1983). Still, the FAA’s
provisions “are not to be construed so broadly as to include claims that were never intended for
arbitration.” Cont’l Cas. Co. v. Am. Nat’l Ins. Co., 417 F.3d 727, 730 (7th Cir. 2005).

         “Whether the parties have agreed to arbitrate is . . . [an issue] governed by state law
principles governing contract formation.” Id. The party “opposing arbitration must identify a
triable issue of fact concerning the existence of the agreement in order to obtain a trial on the
merits of the contract.” Tinder v. Pinkerton Sec., 305 F.3d 728, 735 (7th Cir. 2002). The
applicable standard is comparable to the summary judgment standard under Federal Rule of Civil
Procedure 56: this Court must accept Smith’s evidence as true, drawing all reasonable inferences
in her favor. Id. Still, Smith cannot defeat BOA’s motion to compel arbitration by “generally
denying the facts upon which the right to arbitration rests” but instead “must identify specific
evidence in the record demonstrating a material factual dispute for trial.” Id.

                                                III.

        Smith raises several objections to BOA’s attempt to enforce the Agreement. She first
contends that BOA is not a party to the Agreement and thus cannot require Smith to submit to its
terms. “As a general matter in Illinois, only signatories to an arbitration agreement can file a
motion to compel arbitration.” Cont’l Cas. Co., 417 F.3d at 734. However, a well-established
exception exists for intended third-party beneficiaries where “the liability of a promisor to the
beneficiary . . . affirmatively appear[s] from the language of the instrument.” Id.; see, e.g.,
ChampionsWorld, LLC v. U.S. Soccer Fed’n, 487 F. Supp. 2d 980, 988 (N.D. Ill. 2007) (finding
that the contract at issue “specifically identified ‘national associations’ as a class entitled to
arbitration with match agents such as [plaintiff],” and thus the defendant, as a national
association, was an intended third-party beneficiary of the arbitration requirement and entitled to
enforce it). The parties here do not dispute that BOA qualifies as a “Client” under the
Agreement. And the Agreement requires any dispute asserted against a Client based on Smith’s
temporary work assignment for that Client to be subject to arbitration. Therefore, the Court finds
that BOA is an intended third-party beneficiary and may enforce the Agreement even though it is
not a signatory.

        Smith next argues that BOA cannot enforce the Agreement because the parties never
intended to confer upon it such a right. In support of this assertion, Smith claims that Adecco
explicitly denied that BOA is a third-party beneficiary of the contract. However, the evidence
shows that Adecco made no such statement; instead, Adecco merely acknowledged that the BOA
“is not a party to the Arbitration Agreement at issue.” (Pl.’s Resp. to BOA’s Mem., Ex. A at 4,
Dkt. No. 55-1.) As discussed above, BOA need not be a party to the Agreement to enforce it.

     Smith also claims she did not know that the Agreement applied to her claims against
BOA because the paragraph about third-party beneficiaries was “hidden further down in the

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Agreement.” (Pl.’s Resp. to BOA’s Mem. (“Pl.’s Resp.”) at 4, Dkt. No. 55.) The Court construes
this argument as one claiming procedural unconscionability. “Procedural unconscionability
refers to a situation where a term is so difficult to find, read, or understand that the plaintiff
cannot fairly be said to have been aware he was agreeing to it, and also takes into account a lack
of bargaining power.” Razor v. Hyundai Motor Am., 854 N.E.2d 607, 622 (Ill. 2006). “Factors to
be considered in determining whether an agreement is procedurally unconscionable include
whether . . . important terms were hidden in a maze of fine print.” Phoenix Ins. Co. v. Rosen, 949
N.E.2d 639, 648 (Ill. 2011). After reviewing the Agreement, however, the Court finds no basis to
conclude that the arbitration clause was hidden in any way. The Agreement in its entirety is only
two pages long and uses a uniform font size, with the allegedly hidden clause plainly visible as
paragraph 10 of 14. See, e.g., Brne v. Inspired eLearning, No. 17-CV-02712, 2017 WL 4263995,
at *2 (N.D. Ill. Sept. 26, 2017) (enforcing contract where “the parties do not dispute . . . that the
arbitration clause was not hidden, written in excessively small font, or buried within unrelated
provisions”). The Court thus declines to invalidate the Agreement for procedural
unconscionability.

         Smith further argues that BOA should not be able to enforce the Agreement because it
has “no practice of arbitration in employee disputes,” did not take any “steps to insert itself into
the Agreement,” and did not know of the Agreement’s existence when Smith signed it. (Pl.’s
Resp. at 6.) As to these objections, Smith cites no legal support suggesting that a third-party
beneficiary must establish a custom, take affirmative steps, or even have knowledge of a contract
at the time of its signing to assert its rights. To the contrary, in deciding whether a third-party
beneficiary may enforce an arbitration agreement, the court’s analysis focuses on the intent of
the contracting parties. See, e.g., Am. United Logistics, Inc. v. Catellus Dev. Corp., 319 F.3d 921,
930 (7th Cir. 2003) (“To decide whether a party is . . . a third-party beneficiary, we must
determine the intent of the parties based on the contract as a whole . . . .”); Brown v. Worldpac,
Inc., No. 17 CV 6396, 2018 WL 656082, at *3 (N.D. Ill. Feb. 1, 2018) (holding that a third-party
beneficiary may enforce an arbitration agreement “when the signatories to the agreement
intended that the [third-party beneficiary] derive benefits from the agreement and where the
arbitration clause is susceptible to this interpretation”).

         Finally, the Court considers whether BOA’s unexplained delay in moving to compel
arbitration constitutes a waiver of its arbitration rights. “A contractual right to arbitrate may be
waived expressly or implicitly . . . . Courts must examine the totality of the circumstances and
determine whether based on all the circumstances, the party against whom the waiver is to be
enforced has acted inconsistently with the right to arbitrate.” Sharif v. Wellness Int’l Network,
Ltd., 376 F.3d 720, 726 (7th Cir. 2004) (internal quotation marks omitted). “Although several
factors may be considered in determining waiver, diligence or the lack thereof should weigh
heavily in the decision—did that party do all it could reasonably have been expected to do to
make the earliest feasible determination of whether to proceed judicially or by arbitration?” Id.
(internal quotation marks omitted). Here, BOA raised the arbitration issue in both its Answer and
its statement supporting Adecco’s motion to compel. Moreover, BOA has not taken any action
that evidences an intent to resolve the dispute through federal court litigation. Cf. Cabinetree of
Wis., Inc. v. Kraftmaid Cabinetry, Inc., 50 F.3d 388, 391 (7th Cir. 1995) (finding evidence of
defendant’s “intention to resolve the dispute through the processes of the federal court” when it
removed the case to federal court). Given these circumstances, the Court finds that BOA did not
waive its right to arbitrate.

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        In sum, the Court finds no material factual dispute regarding the validity of the
Agreement or its applicability to Smith’s claims against BOA, and thus BOA’s motion to compel
arbitration is granted.




Dated: May 15, 2019                               ________________________________
                                                  Andrea R. Wood
                                                  United States District Judge




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